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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Darrell Fair
                                            Plaintiff,
v.                                                           Case No.: 1:17−cv−05776
                                                             Honorable Gary Feinerman
Scanning Program − Stateville, et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 10, 2018:


        MINUTE entry before the Honorable Michael T. Mason:Settlement conference set
for 9/27/18 is stricken and reset for 10/18/2018 at 01:30 p.m. Parties shall strictly abide by
this Court's Standing Order for Settlement Conferences. Plaintiff's counsel shall submit
copies of both plaintiff's settlement demand letter as well as defendant's response letter to
chambers, room 2270 by 10/12/18. Video Writ to issue forthwith. Mailed notice(rbf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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